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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


STINSON ELECTRIC, INC., PAUL                           Civil File No. 14-CV-00830
ARCHAMBAULT, PATRICIA                                                     PJS/JJG
ARCHAMBAULT, and ROBERT
ARCHAMBAULT,

                              Plaintiffs,          PRELIMINARY INJUNCTION

   vs

KATHLEEN SEBELIUS, in her official capacity
as Secretary of the United States Department of
Health and Human Services and her successor;
and the UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;

SETH D. HARRIS, in his official capacity as
Acting Secretary of the United States Department
of Labor and his successor; and the UNITED
STATES DEPARTMENT OF LABOR;

JACOB LEW, in his official capacity as U.S.
Secretary of the Treasury and his successor; and
the UNITED STATES DEPARTMENT OF THE
TREASURY, and

DANIEL I. WERFEL, in this official capacity as
Acting Commissioner of Internal Revenue and
his successor; and the INTERNAL REVENUE
SERVICE,

                            Defendants.
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                           PRELIMINARY INJUNCTION

      Plaintiffs Stinson Electric, Inc., Paul Archambault, Patricia Archambault, and

Robert Archambault have filed a motion for preliminary injunction and stay in the above-

referenced case. [ECF 5.] The Plaintiffs have filed a Local Rule 7.1 meet-and-confer

statement indicating an agreement between the parties on the Plaintiffs’ proposed order.

[ECF 7.] Defendants have filed a document indicating the same. [ECF 13.]

      Based on these filings, Defendants are preliminarily enjoined until thirty days after

the mandate issues from the Eighth Circuit in O’Brien v. U.S. Dep’t of Health & Human

Servs., No. 12-3357, or Annex Medical, Inc. v. Sebelius, No. 13-1118, or until thirty days

after the Supreme Court issues its mandate in Kathleen Sebelius, et al., v. Hobby Lobby

Stores, Inc., et al., No. 13-354, and Conestoga Wood Specialty Corporation, et al. v.

Kathleen Sebelius, et al., No. 13-356, whichever occurs first, from enforcing the

contraceptive coverage requirement under 42 U.S.C. § 300gg-13(a)(4) and its

implementing regulations1 against Plaintiffs, its employees or any health insurance issuer

when offering any group health insurance coverage to Stinson Electric, Inc. without

coverage for “All Food and Drug Administration approved contraceptive methods,

sterilization procedures, and patient education and counseling for all women with

reproductive capacity,” as prescribed by a health care provider. See HRSA, Women’s

Preventive Services: Required Health Plan Coverage Guidelines, available at



1
  75 Fed. Reg. 41,726, 41,728 (July 19, 2010) (interim final rules with request for
comments); 76 Fed. Reg. 46,621, 46,621-26 (Aug. 3, 2011) (interim final rules with
request for comments); 77 Fed. Reg. 8725, 8725-30 (Feb. 15, 2012) (final rules).

                                            2
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http://www.hrsa.gov/womensguidelines (August 1, 2011), attached as Exhibit A hereto.2

       Further, if Stinson Electric, Inc. adopts a self-insured plan under the Employee

Retirement Income Security Act of 1974 (ERISA), which must also comply with the

requirements of 42 U.S.C. § 300gg-13(a)(4) and its implementing regulations,

Defendants are preliminarily enjoined until thirty days after the mandate issues from the

Eighth Circuit in O’Brien or Annex Medical, or until thirty days after the Supreme Court

issues its mandate in Kathleen Sebelius, et al., v. Hobby Lobby Stores, Inc., et al., No. 13-

354, and Conestoga Wood Specialty Corporation, et al. v. Kathleen Sebelius, et al., No.

13-356, whichever occurs first, from enforcing the contraceptive coverage requirement

under 42 U.S.C. § 300gg-13(a)(4) and its implementing regulations against Plaintiffs, its

employees or any third party administrator when administering any self-insured plan for

Stinson Electric, Inc. without coverage for “All Food and Drug Administration approved

contraceptive methods, sterilization procedures, and patient education and counseling for

all women with reproductive capacity,” as prescribed by a health care provider. Ex. A.3

       All proceedings in this case are stayed pending resolution of the appeal in either


2
  The U.S. Food and Drug Administration has approved currently the following
contraceptive methods and sterilization procedures for women: female condom;
diaphragm with spermicide; sponge with spermicide; cervical cap with spermicide;
spermicide alone; oral contraceptives (combined pill) (“the Pill”); oral contraceptives
(Progestin-only) (“the Mini Pill”); oral contraceptives (extended/continued use) (“the
Pill”); patch; vaginal contraceptive ring; shot/injection; Plan B, Plan B One-Step and
Next Choice; Ella; Copper IUD; IUD with progestin; implantable rod; sterilization
surgery for women and sterilization implant for women. See U.S. FDA Birth Control
Guide, available at
http://www.fda.gov/downloads/ForConsumers/ByAudience/ForWomen/FreePublications/
UCM282014.pdf (updated August 2012), attached as Exhibit B hereto.
3
  See Note 2, supra.

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O’Brien or Annex Medical, or until the Supreme Court issues a ruling in Hobby Lobby

and Conestoga Wood Specialty Corporation cases, whichever occurs first.


IT IS SO ORDERED.


Date: 04/30/14                                s/Patrick J. Schiltz
                                              Hon. Patrick J. Schiltz
                                              U.S. District Court Judge




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